Case 1:21-cv-00325-JJM-PAS Document 47 Filed 12/22/22 Page 1 of 4 PageID #: 902




                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND


  KATIANA SOENEN, TAJA HIRATA-
  EPSTEIN, CHLOE BURNS, EMMA                           CLASS ACTION
  DENNIS-KNIERIEM, JANE DOES 1-2,
  individually and on behalf of all others             C.A. No. 1:21-cv-00325-JJM-PAS
  similarly situated,

                 Plaintiffs,                           Jury Trial Demanded
       v.

  BROWN UNIVERSITY,

                 Defendant.

               ASSENTED TO MOTION FOR AN EXTENSION OF TIME FOR
                PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF PLAINTIFFS’
                  MOTION FOR LEAVE TO AMEND THE COMPLAINT

        Plaintiffs, through their undersigned counsel, move for an extension of time to file a

 Reply Brief in support of Plaintiffs’ Motion for Leave to Amend the Complaint (Doc. 44) (the

 “Motion for Leave”) and in response to Defendant Brown University’s Opposition (the

 “Opposition”) (Doc. 46).

        On December 2, 2022, Plaintiffs filed a Motion for Leave seeking leave to file a Second

 Amended Complaint. On December 12, 2022, Defendant, with Plaintiffs’ consent, filed an

 Assented-to Motion for an Extension of Time to Respond to Plaintiffs’ Motion for Leave (Doc.

 45), requesting an extension of the response deadline from December 16, 2022 to December 21,

 2022. Defendant’s Opposition was accordingly filed on December 21, 2022.

        Pursuant to LR Cr 47(a)(4), Plaintiffs’ Reply Brief in response to Defendants’ Opposition

 is required to be filed by December 28, 2022, seven (7) days after service of Defendant’s

 Opposition.

        Plaintiffs state the following in support of their request for an extension:
Case 1:21-cv-00325-JJM-PAS Document 47 Filed 12/22/22 Page 2 of 4 PageID #: 903




          1. During the seven-day period for Plaintiffs’ Reply Brief are several religious holidays

             observed by counsel for Plaintiffs and Plaintiffs.

          2. Because of the scheduling impact caused by the observation said religious holidays,

             Plaintiffs’ counsel requires a short extension to complete Plaintiffs’ Reply Brief and

             review it with Plaintiffs before its filing with the Court.

          3. Defendant’s counsel assents to the requested extension.

          4. Plaintiffs’ request for an extension is not made for purposes of delay.

          For the foregoing reasons, and with Defendant’s consent, Plaintiffs respectfully request

 that this Court grant the request to extend to January 6, 2023 the deadline for Plaintiffs’ Reply

 Brief.

 Dated: December 22, 2022                       Respectfully submitted,

                                                 GRANT & EISENHOFER P.A.

                                                 /s/ Irene R. Lax
                                                 Irene Lax (Pro Hac Vice)
                                                 Karin Fisch (Pro Hac Vice)
                                                 485 Lexington Avenue, 29th Floor
                                                 New York, NY 10017
                                                 Tel: (646) 722-8512
                                                 ilax@gelaw.com
                                                 kfisch@gelaw.com

                                                 GRANT & EISENHOFER P.A.
                                                 Samuel Mukiibi (Pro Hac Vice)
                                                 Cynthia Morgan (Pro Hac Vice Forthcoming)
                                                 123 Justison Street
                                                 Wilmington, DE 19801
                                                 Tel: (302) 622-7000
                                                 smukiibi@gelaw.com
                                                 cmorgan@gelaw.com

                                                 GRANT & EISENHOFER P.A.
                                                 M. Elizabeth Graham (Pro Hac Vice)
                                                 101 California Street, Suite 2710
                                                 San Francisco, CA 94111
                                                 Tel: (415) 365-9585
Case 1:21-cv-00325-JJM-PAS Document 47 Filed 12/22/22 Page 3 of 4 PageID #: 904




                                    egraham@gelaw.com

                                    SALTZ MONGELUZZI AND BENDESKY
                                    Elizabeth A. Bailey (Pro Hac Vice)
                                    1650 Market Street, 52nd Floor
                                    Philadelphia, PA 19103
                                    Tel: 215-575-3859
                                    ebailey@smbb.com

                                    LAW OFFICES OF PATRICIA E. ANDREWS
                                    Patricia E. Andrews
                                    38 N. Court Street
                                    Providence, RI 02903
                                    Tel: (401) 421-0966
                                    peandrews@verizon.net

                                    ATTORNEYS FOR PLAINTIFFS AND THE
                                    PROPOSED CLASS
Case 1:21-cv-00325-JJM-PAS Document 47 Filed 12/22/22 Page 4 of 4 PageID #: 905




                               CERTIFICATE OF SERVICE

        I certify that a true and correct copy of ASSENTED TO MOTION FOR AN

 EXTENSION OF TIME FOR PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF PLAINTIFFS’

 MOTION FOR LEAVE TO AMEND THE COMPLAINT was filed and served electronically

 through the Court’s CM/ECF system on the following counsel of record:

                                       Steven M. Richard
                                        Caitlyn Horbert
                                      Nixon Peabody LLP
                                 One Citizens Plaza, Suite 500
                                     Providence, RI 02903
                                 srichard@nixonpeabody.com
                                 chorbert@nixonpeabody.com
                            Counsel for Defendant, Brown University



                                                  By:   /s/ Irene R. Lax
                                                        Irene R. Lax



 Dated: December 22, 2022
